
PER CURIAM
We affirm this Anders 1 appeal in all respects. However, we note that the judgment contains a scrivener's error where it states that Appellant's sex offender probation for count nine is for a period of eight years following the prison term. This conflicts with the oral pronouncement that the sentence for count nine (a third-degree felony) was two years of prison followed by three years of sex offender probation. Thus, we remand this case for correction of the scrivener's error on the judgment and sentence. See, e.g., Downey v. State, 114 So.3d 356 (Fla. 5th DCA 2013) (affirming an Anders appeal but remanding for correction of scrivener's errors).
AFFIRMED AND REMANDED WITH INSTRUCTIONS.
LAMBERT, GROSSHANS and SASSO, JJ., concur.

Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).

